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                             UNITED STATES DISTRICT COURT
                                            District of Minnesota


Public Record Media
                                                          JUDGMENT IN A CIVIL CASE
                                        Plaintiff,
v.
                                                                  Case Number: 14-4927 SRN/HB
U.S. Department of the Interior

                                    Defendant(s).


     Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and the jury
     has rendered its verdict.

X Decision by Court. This action came to trial or hearing before the Court. The issues have been tried or
  heard and a decision has been rendered.

     IT IS ORDERED AND ADJUDGED THAT:
     the above-entitled matter is hereby DISMISSED WITH PREJUDICE on the merits, without
     further cost to either party.



Date: 12/17/15                                                       RICHARD D. SLETTEN, CLERK

                                                                                s/A. Linner
                                                           (By)                     A. Linner, Deputy Clerk
